, .....,   ..

                               IN THE UNITED STATES DISTRICT COURT

                          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


                UNITED STATES OF AMERICA

                                V.                               1 :20CR   665-1
                DAVE DELANO VIRGIL

                                         The Grand Jury charges that:

                                                  COUNT ONE

                      On or about August 11, 2016, in the County of Forsyth, in the Middle

                District of North Carolina, DAVE DELANO VIRGIL, an alien, did knowingly

                make a false statement and claim that he was a citizen of the United States in

                order to register to vote and to vote in any Federal, State, and local election; in

                violation of Title 18, United States Code, Section 1015(f).

                                                  COUNTTWO

                      On or about August 11, 2016, in the County of Forsyth, in the Middle

                District of North Carolina, DAVE DELANO VIRGIL did falsely and willfully

                represent that he was a citizen of the United States; in violation of Title 18,

                United States Code, Section 911.

                                                COUNT THREE

                      On or about November 8, 2016, in the County of Forsyth, in the Middle

                District of North Carolina, DAVE DELANO VIRGIL, an alien, cast a vote in




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. ..


       an election held for the purpose of electing a candidate for the office of

       President, Vice President, Member of the United States Senate, and Member

       of the House of Representatives; in violation of Title 18, United States Code,

       Section 61 l(a).

                                                 DATED: August 31, 2020

                                                  tfML JJ.1. fkrt
                                                 BY: MATTHEW G.T. MARTIN
                                                 United States Attorney




            EPERSON




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